       Case 5:24-cv-00567-F    Document 37      Filed 08/28/24   Page 1 of 4




              IN THE UNITED STATES DISTRICT COURT FOR
                THE WESTERN DISTRICT OF OKLAHOMA

DOUGLAS MASTRIANO

             PLAINTIFF,                       Case No.: 5:24-cv-00567-F

v.                                            Assigned to the Hon. Stephen P. Friot

James Gregory, III                               NOTICE OF APPEARANCE
1509 Vandivort Place
Edmond, OK 73034

And

Roland Kuhn, the National Research Council
of Canada, Paul Mazerolle, President and
Vice-Chancellor, University of New
Brunswick, Canada; David MaGee, Vice-
President, Research; Drew Rendall, Dean,
Graduate Studies; Jeff Brown; Cindy Brown;
Stephen Dutcher; Sean Kennedy; Erin
Morton; Mattew Sears; Lee Windsor; Stefanie
Hunt-Kennedy; Carolyn MacDonald; Sasha
Mullaly; Lisa Todd; Sarah-Jane Corke;
Bonnie Huskins; Elizabeth Mancke; Janet
Mullin; Angela Tozer; Margaret MacMillan;
Robert Bothwell; John Ferris;
   - each in his or her individual capacity

And

University of New Brunswick, Canada,

And

John & Jane Doe

             DEFENDANTS.




                                        1
          Case 5:24-cv-00567-F   Document 37      Filed 08/28/24   Page 2 of 4




      To the clerk of court and all parties of record, William C. Swallow, Michael H.

Passman, and Emily M. Vanderlaan, and the law firm of Clyde & Co US LLP, having been

admitted pro hac vice by Order of the Court (Doc. 16), do now additionally appear as

counsel for Margaret MacMillan, Robert Bothwell, and John Ferris in the above-captioned

matter.

Dated: August 28, 2024

                                              Respectfully submitted,

                                              /s/ William C. Swallow
                                               William C. Swallow (IL No. 6293910)
                                               Admitted Pro Hac Vice
                                               Michael H. Passman (IL No. 6297381)
                                               Admitted Pro Hac Vice
                                               Emily M. Vanderlaan (CO No. 55293)
                                               Admitted Pro Hac Vice
                                               CLYDE & CO US LLP
                                               55 W. Monroe Street, Suite 3000
                                               Chicago, Illinois 60603
                                               T: (312) 635-7000
                                               E: bill.swallow@clydeco.us
                                               E: michael.passman@clydeco.us
                                               E: emily.vanderlaan@clydeco.us

                                                Don W. Danz
                                                McATEE & WOODS, P.C.
                                                410 NW 13th Street
                                                Oklahoma City, OK 73103
                                                T: (405) 232-5067
                                                F: (405) 232-0009
                                                E: DonD@McAteeandWoods.com

                                              Attorneys for the University of New
                                              Brunswick, Paul Mazerolle, David
                                              MaGee, Drew Rendall, Jeff Brown, Cindy
                                              Brown, Stephen Dutcher, Sean Kennedy,
                                              Erin Morton, Matthew Sears, Lee
                                              Windsor, Stefanie Hunt-Kennedy, Carolyn


                                          2
Case 5:24-cv-00567-F   Document 37   Filed 08/28/24   Page 3 of 4




                                  MacDonald, Sasha Mullaly, Lisa Todd,
                                  Sarah-Jane Corke, Bonnie Huskins, the
                                  Estate of Elizabeth Mancke, Angela Tozer,
                                  Margaret MacMillan, Robert Bothwell,
                                  and John Ferris




                              3
        Case 5:24-cv-00567-F       Document 37      Filed 08/28/24     Page 4 of 4




                            CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing was

filed electronically on this 28th day of August, 2024, which will send notification of such

filing to those attorneys of record registered on the CM/ECF system.



                                                 /s/ William C. Swallow
                                                  William C. Swallow
                                                  Pro Hac Vice
                                                  CLYDE & CO US LLP
                                                  55 W. Monroe Street, Suite 3000
                                                  Chicago, Illinois 60603
                                                  T: (312) 635-7000
                                                  E: bill.swallow@clydeco.us




                                            4
